
271 P.3d 246 (2012)
173 Wn.2d 1023
STATE of Washington, Respondent,
v.
Ricky Lee HORNE, Petitioner.
No. 84658-8.
Supreme Court of Washington.
March 7, 2012.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Chambers, Fairhurst, Stephens and González, (Justice Chambers recused and Justice C. Johnson sat for Justice Chambers), considered at its March 6, 2012, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the case is remanded to the Court of Appeals Division One for reconsideration in light of State of Washington v. Michael Tyrone *247 Gresham, 173 Wash.2d 405, 269 P.3d 207 (2012).
 For the Court
 /s/ Madsen, C.J.
 CHIEF JUSTICE
